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                                  KP-0452
                              
                        
          
        
      
    
  

  

  
    
      KP-0452
              Ken Paxton
                  
        Categories
                        
State Boards, Commissions, Departments
              , 
Library and Archives Commission, State
              , 
State Funds
              , 
Grants and Donations
              , 
Words and Phrases
        
      
            
                  Summary
                      Texas State Library and Archives Commission authority to receive a donation of repair, rehabilitation, or construction work for a specific purpose where a donor pays a third-party to perform the work.
      
                          
            Opinion File
                         kp-0452.pdf 

      
          
                
        
      
    

          
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